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PROB lZC
FLNP{|!ZGIJ)
UNITED STATES DISTRICT COURT
for the
Northern Dlstrlct of Florida
Petltlon for Warrant or Summons for Offender Under Supervision
Narne of Of’fender: Lorenzo Laverne Gilrnore Case Numbcr: l:l 7CR24

Name of Sentencing Judicial OHicer: The Honorable Mark E. Walk.er, U. S. Disttict Judge

Date of Originsl Sentence: l/l llZOl'?

. . Violation of su ervised release for the offense of Distribution of Five Grams or More of
On : . p
g‘““l Off°”“° cocaine Base, 21 U.s.c. §§ s41(a)(1) and s41(b)(1)(s).

Originsl Sentence: 8 months imprisonment, followed by 3 years supervised release
Type of Supervision: Supervised Release Dste Supervision Commenced: 8115/2017

Assistant U.S. Attorney: Amold B. Corsmeier Defense Attomey: Ronald W. Msxwell

=_ W=
PET[TIONING TI:IE COURT

lZ To issue a warrant

['_'] To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

!L____Q___i@_°lati nN er mmil§lo.usm\ube@

1 Violatign of §tandard andltlgn, by unlawfully possessing or using a controlled
substance On cr about Oetober 4, 2017, the supervised releasee submitted a urine

specimen, which tested positive for the presence cf cocaine; and subsequently
confirmed positive by the national lab.

2 Violatlon of Stggdggg gondiggg, by unlawfully possessing or using a controlle
substance On or about Novembcr 28, 201'!, the supervised releasee, submitted a

urine specimen, which tested positive for the presence of cocaine; and subsequently
confirmed positive by the national lab.

3 Violatlon of Standsrd §ongjtiog, by failing to submit to drug testing. On or about
Novernber 6, 2017, the supervised releases failed to submit to drug testing as
scheduled by Code~A-Phone.

4 Y!olagog gf §tandsrd Cong_l_itiog, by failing _to submit to drug testing. On or about
December 4, 2017, the supervised releasee failed to submit to drug testing as

scheduled by Code-A-Phone.

ecas§@t§i??dr§dbb'£¢l-WWMJ [l.‘?<§éll?ri`éllt]z *@EHLQ§@O/Jt§le§i&il%flag Fl’°%%%"§ dr 3

Pctltion for Wati'ant or Suntmons for Oi'fender Under Supervision
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5 viglgtiun of steering cgnatgon, by failing co sooner to drug testing on or about
December 14, 201?, the supervised releases failed to submit to drug testing as
scheduled by Code~A~Phone.

6 Violation of §pacial Copdiggn, by failing to participate in a Doinestic Viol.ence and
cr Anger Management weatment program. O`n or about October 28, 2017, the
supervised releases Was unsuccessfully discharged from the Bstterers lntervention
Prograrn by Creati.ve Counseling Services of G`ainesville, Ine., for failing to attend
required sessions

U.S. Probation Oiiicer Reeornmendation: The issuance of a wali-ant and that the defendant be brought before
the court to explain why his term of supervised release-should not be revoked

l:l '[`he term of supervision should be
l:l Revoked

C] E.xtended for years, for a total term of years

l:l 'l`be conditions of supervision should be modified as follows:

`l declare under penalty of perjury that the foregoing is true and eort‘ect.
Executed on Iariuary 12,.2018

@e~é//`£----

Dennis c.};?'iolnao_o
U.S.Pr ' tion Oi`ficer

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Pctition for Wazrsnt or Surrunons for Offender Under Supervision
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THE COURT ORDERS:
[:| No Action.

`E_,The Issuance of a Wan'ant
’l`he Issuance of a Summons.
U Other -

Sianature of Judieial Oflieer

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Date

Wanant/Summons Issued:

 

Date Deput_v Clerk

